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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,                )
 7                                              )    No. CR-09-015-EFS-22
                         Plaintiff,             )
 8                                              )    ORDER GRANTING UNOPPOSED
       v.                                       )    MOTION TO MODIFY CONDITIONS
 9                                              )    OF RELEASE
       JACOB D. SUBLIE                          )
10                                              )
                         Defendant.             )
11                                              )

12          Defendant’s unopposed Motion to Modify (Ct. Rec. 1132) is

13    GRANTED. Defendant’s conditions of release are modified by removing

14    Defendant’s curfew requirement. All other conditions previously set

15    shall remain in effect.

16          IT IS SO ORDERED.

17          DATED October 2, 2009.

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19                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE - 1
